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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

3:13-cev-02171-SC

DELL INC, and DELL PRODUCTS L.P.,

Master File No. 3:07-cv-05944-SC (N.D. Cal.)
This Document Relates to Individual Case No. | MDL No. 1917

Plaintiffs, Individual Case No. 3:13-cv-02171-SC

V.

DECLARATION OF MELISSA MAHURIN

HITACHI, LTD., et al., WHITEHEAD IN SUPPORT OF

PLAINTIFFS DELL INC, AND DELL
Defendants. PRODUCTS L.P.’S ADMINSTRATIVE
MOTION

DECL., OF MELISSA MAHURIN WHITEHEAD
ISO DELL’S ADMINISTRATIVE MOTION

No. 3:13-ev-02171-SC
MDL No. 1917

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1, MELISSA MAHURIN WHITEHEAD, declare as follows:

1. I am an associate with the law firm of Alston & Bird LLP, counsel for Plaintiffs Dell
Inc, and Dell Products L.P. (collectively, “Dell”) in the above-captioned action currently pending in the
U.S. District Court for the Northern District of California. I submit this Declaration in support of
Dell’s Administrative Motion to Confirm its Opt Out Request or, in the Alternative, for an Enlargement
of Time to Opt Out. I have personal knowledge of the facts stated herein, and I could and would
competently testify thereto if called as a witness.

2. I am a member in good standing of the State Bar of Georgia and am admitted to practice
before the U.S. District Court for the Northern District of Georgia. Pursuant to the Court’s Pretrial
Order No. 1 in the MDL Proceeding, I have been admitted pro hac vice in this litigation.

3. In April 2013, I prepared and submitted Dell’s timely request to opt out of the Direct
Purchaser Plaintiff (““DPP”) settlement with the Toshiba Defendants (“Toshiba Settlement”).

4, Although I did not personally receive a copy of the notice of the Toshiba Settlement
from my client or otherwise, I used the CRT Direct Purchaser Antitrust Settlement website
(http://www.crtdirectpurchaserantitrustsettlement.com/) to locate the necessary information for opting
out.

5, Specifically, I reviewed the “Index” page to identify the parties with which the DPPs
had settled and to determine the deadline for submitting Dell’s opt out request. See
http://www.crtdirectpurchaserantitrustsettlement.com/INDEX.htm, When I reviewed this page in April
2013, it had been updated to reflect the settlement with Toshiba.

6. After I learned of the DPP settlement with Hitachi and SDI, I bookmarked the Index
page and began regularly checking it for updated information regarding the settlements with Hitachi
and SDI.

7. A true and correct copy of a search of my internet browser history for hits on
“crtdirectpurchaserantitrustsettlement” is attached as Ex. 9. I checked the Index page of the
http:/Awww.crtdirectpurchaserantitrustsettlement.com website three times between April 8 and May 28,
2014,

8. On each of those occasions, the Index page was not updated to reflect information

-2-

DECL. OF MELISSA MAHURIN WHITEHEAD No, 3:13-ev-02171-SC
ISO DELL’S ADMINISTRATIVE MOTION MDL No, 1917

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regarding the settlements with Hitachi and SDI. The Index page is currently not active.

9, I have also checked the Dates to Remember page of this website. This page provided
information regarding the deadline to opt out of prior settlements, but has not been updated to reflect
the deadline for opting out of the settlements with Hitachi and SDI.

10. This first time that I became aware that the opt out deadline was June 12, 2014, was on
June 26, 2014.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on July 22, 2014, in Atlanta, Georgia.

By: 1iyhdad WA ¢=—

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DECL. OF MELISSA MAHURIN WHITEHEAD No. 3:13-cev-02171-8C
TSO DELL’S ADMINISTRATIVE MOTION MDL No. 1917

